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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                   )
                                            )
                         Plaintiff,         )
                                            )                      CRIMINAL ACTION
v.                                          )
                                            )                      No. 07-20167-08-KHV
CHARLES R. SINGLETON,                       )
                                            )
                         Defendant.         )
____________________________________________)

                                              ORDER

       This matter is before the Court on defendant’s request for a copy of his sentencing transcript

(Doc. #597) filed November 25, 2009. Defendant states that he needs the transcript so that he can

apply for the BOP’s 500 hour residential drug abuse program (“RDAP”). Initially, the Court

overrules defendant’s motion because defendant is represented by counsel on appeal.1 See United

States v. Sandoval-DeLao, 283 Fed. Appx. 621, 625 (10th Cir. 2008) (no error in refusal to consider

pro se motion when defendant represented by counsel); United States v. Castellon, 218 Fed. Appx.

775, 780 (10th Cir. 2007) (if criminal defendant represented by counsel, court does not accept pro

se filings or allegations); United States v. McKinley, 58 F.3d 1475, 1480 (10th Cir. 1995) (no

constitutional right to “hybrid form of representation”). Appointed counsel has access to the

sentencing transcript. See Doc. #578. In any event, defendant has not shown a particularized need

for the transcript at this time. Subject to eligibility requirements and availability, RDAP ordinarily

applies, if at all, to the last 24 months of a prison term. Here, on June 5, 2009, the Court sentenced



       1
                The appointment of counsel on appeal remains effective through the filing of a
petition for certiorari to the Supreme Court, if requested by the client, or until the Tenth Circuit
grants a motion to withdraw by counsel. See Criminal Justice Act Plan for the United States Court
Of Appeals For The Tenth Circuit, Addendum I to Tenth Circuit Rules Effective January 1, 2009.
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defendant to 120 months in prison. Defendant has not shown a particularized need to determine his

eligibility for RDAP years in advance.

       IT IS THEREFORE ORDERED that defendant’s request for a copy of his sentencing

transcript (Doc. #597) filed November 25, 2009 be and hereby is OVERRULED.

       Dated this 30th day of December, 2009, at Kansas City, Kansas.


                                            s/ Kathryn H. Vratil
                                            KATHRYN H. VRATIL
                                            United States District Judge




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